J. A. Bayard, of counsel for the defendants, moved the court, on affidavit filed, to compel the plaintiff to elect whether he would proceed with this cause, or in another action which he had commenced in the State of Maryland, for the same cause of action. He stated that this was done in Randel's case, in the late Court of Common Pleas.
Per Curiam.
We doubt the authority of the court to make such an order. The constitution opens this court to all suitors, and secures to them the administration of justice without delay. We don't see how we can notice the pendency of a suit in the courts of another state, much less the cause for which that action was brought. A judgment
in another state for the same cause of action may be pleaded in bar, but we know of no authority to arrest proceedings in our court, merely because a suit is pending in another court, of another state. No authority was shown in Randel's case, and I always understood the order was made without argument.
                            So Mr. Bayard took nothing by his motion.